                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                      )             COURTROOM MINUTES - CRIMINAL
                                                               )               BEFORE: BECKY R. THORSON
                                      Plaintiff,               )                   U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:               20-cr-251 DWF/ECW
                                                               )    Date:                  November 6, 2020
Ty Raymond Jindra,                                             )    Video Conference
                                                               )    Time Commenced:         1:08 p.m.
                                      Defendant,               )    Time Concluded:         1:22 p.m.
                                                                    Time in Court:          14 minutes


APPEARANCES:

   Plaintiff: Amber Brennan, Assistant U.S. Attorney
   Defendant: Peter Wold, Esq.
                     X Retained

   Date Charges Filed:                        Offense: Acquiring a controlled substance by deception; extortion under color of
                                                                                   official right; deprivation of rights under color
                                                                                   of law

   X Advised of Rights

on            X Indictment


Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.


X Defendant also arraigned at this hearing, see separate arraignment minutes.
X Government moves to unseal the case.         X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
                                                                                                         s/SAE
                                                                                                       Signature of Courtroom Deputy




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